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       7

       8                                   UNITED STATES BANKRUPTCY COURT
       9
                                           EASTERN DISTRICT OF CALIFORNIA

       10
            IN RE:                                           CASE NO. 18-10504-B-13F
       11                                                    DC NO.: MHM-2
            Juan Reyes
       12                                                    CHAPTER 13 PROCEEDING
                                      Debtor,
       13                                                    DECLARATION IN SUPPORT OF
                                                             MOTION TO DISMISS PURSUANT
       14                                                    TO 11 U.S.C. § 1307

       15
                                                             DATE:       May 10, 2018
       16                                                    TIME:       1:30 PM
                                                             PLACE:      U.S. Courthouse
       17                                                                Dept. B, Courtroom 13, 5th Floor
                                                                         2500 Tulare Street
       18
                                                                         Fresno, Ca 93721
       19
                                                             JUDGE:      Hon. Rene Lastreto II
       20

       21            I, Elizabeth Clark, an employee of Michael H. Meyer, Chapter 13 Standing Trustee, declare as

       22   follows:

       23
                     1. If called as a witness in this matter, I would testify from personal knowledge to the
            following.
       24
                     2. I am familiar with this office’s intake of documents and procedures for documenting
       25
            case notes.
       26
                     3. This motion is sought on grounds of unreasonable delay.
       27
                     4. On or about February 21, 2018, Trustee sent a list of the required/requested documents
       28
            checklist to Debtor and Debtor’s attorney.



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       1            5. The checklist requests the following documentation:
       2            a.) Class 1 Checklist, with most recent mortgage statement
       3            b.) Authorization to Release Information

       4            c.) All pages of most recent Federal and State tax returns filed by the debtor(s)

       5
                    d.) For each debt secured by real or personal property, provide a copy of the contract showing
            payments remaining, number of months to pay and a copy of all notes and trust deeds secured by the
       6
            property
       7
                    6. These were to have been provided to the trustee within (14) fourteen days of the filing of the
       8
            Petition.
       9
                    7. Debtor failed to provide the following within the time requested for Trustee's audit:
       10
                    a.) Authorization to Release Information form
       11           b.) 2017 State tax returns
       12           c.) No late fee was listed on Class 1 Checklist
       13           d.) most recent mortgage statement

       14           e.) deed of trust

       15
                    f.) 2016 Jeep sales contract/statement
                    8. Debtor’s Schedule C is incomplete.
       16
                    9. Debtor’s Schedule H is inaccurate. No spouse is listed but Schedule I shows a spouse.
       17
                    10. Debtor’s plan is incomplete fails to list a dividend in 3.06 even though there are claims listed
       18
            in 3.05.
       19
                    11. Debtor’s Schedule J is inaccurate. Debtor’s mortgage is in the plan.
       20
                    I declare under penalty of perjury that the foregoing is true and correct and that I executed this
       21   declaration on April 9, 2018, at Fresno, California.
       22                                                  /s/ Elizabeth Clark
                                                           Elizabeth Clark
       23

       24

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       27

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